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                                                                           Exhibit 2
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 l   I,                                                 declare as follows:
 2
 3   l.     This declaration is based on my personal knowledge. If called to testify in this
 4 case, I would testify competently about these facts.
 5 2.       I came to the USA fleeing sexual violence and child abuse. In El Salvador, I
 6 suffered a lot and was in and out of shelters throughout my childhood. I experienced
 7 some very horrible violence at a young age, and I haven't really told my story until now.
 8 I was gang raped when I was 15 years old. The rapists told me not to tell anyone or they
 9   would kill me. My biological dad is deceased, and my mom was involved with a man
10 who was abusive to me, and I did not feel safe at home. My older sister is paralyzed -she
11   suffered horrible abuse and can no longer speak or walk. I also have two little brothers. I
12 decided to leave my country for safety and opportunity in the United States.
13   3.     I am 16 years old. I am currently being held in ORR custody detained at the
14 Shiloh Residential Treatment Center. I arrived here on September 7, 2017. Shiloh is a
15   locked facility with 24-hour surveillance and monitoring. The children are detained here
16 and no one is free to leave.
17 4.       I was taken into immigration custody in Texas about eleven months ago in January
18   2017. I was first detained at Southwest Key, a shelter, but then I became increasingly
19 stressed, because I felt like I was going to be detained forever. I just want to live in
20   Oakland, California with my grandpa-I don't want to be detained. My grandfather is in
21   the beginning of process of sponsoring me.
22   5.     One time a staff member began yelling at me at Southwest Keys and I broke a
23   mirror. The staff accused me of trying to hurt myself and sent me to a psychiatric
24   hospital. Then a psychologist recommended that I come here to Shiloh because there is
25   more one-on-one attention here.
26   6.     I don't remember ever being told or reading that I could appeal or challenge the
27   government's decision to put me into this treatment facility, or that I could go to court
28   about it.

                                                                                        Exhibit 2
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 1 7.      I have never had a thirty-day review to review my custody classification since I
 2 have been here. No one has formally sat down with me and reviewed whether I should
 3 be stepped down to a lower level of security or told me how I'm doing here or what I
 4 have to do in order to step down.
 5 8.      I have had about three court hearings. My attorney is Paola, I think I met with her
 6 recently but I don't remember.
 7 9.      At Shiloh, I am given three pills every day. In the morning I take one pill, I don't
 8 lrnow what it is. In the evening, I take Prozac and Melatonin. The staff checks our
 9 mouths to make sure that we have taken our medicine. I don't think that my family was
10 asked before giving me medicine. My understanding is that the government makes those
11   decisions.
12   10.   I think I would get a "report" if I didn't take my medicine. Getting a report
13   impacts your privileges and delays when you can get released.
14 11.     The staff hold down and inject youth who aren't able to calm down.
15   12.   I am only allowed two 15-minute calls per week. The calls have no privacy.
16 Sometimes I talk to my mother and sometimes I talk to my grandfather.
17
18 I declare under penalty of perjury that the foregoing is true and correct. Executed on this
19 first day ofDecember 2017, at Manvel Texas.
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                                                                                       Exhibit 2
                                                  2                                     Page 50
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 3                            CERTIFICATE OF TRANSLATION
 4 My name is Karina Marquez and I swear that I am fluent in both the English and Spanish
 5 languages and I translated the foregoing declaration from English to Spanish to the best
 6 of my abilities.
 7
 8 Dated: December 1, 2017
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